                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF MISSOURI
                                    WESTERN DIVISION



NATIONAL GREEN GAS, LLC.,                    )
                                             )
                               Plaintiff,    )
                                             )
       vs.                                   )       Case No. 4:18-CV-00285-BCW
                                             )
ESTRATEGY, INC., et al,                      )
                                             )
                               Defendants.   )


                                 JUDGMENT IN A CIVIL CASE

       X       Jury Verdict. This action came before the Court for a trial by jury.


       IT IS ORDERED AND ADJUDGED that JUDGMENT is entered in accordance with the

jury verdict (Doc. # 303) filed this date.

                                             AT THE DIRECTION OF THE COURT

July 3, 2019                                 /s/Paige Wymore-Wynn
Dated                                        Court Executive

July 3, 2019                                 By: Joella Baldwin
Entered                                      Deputy Clerk




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